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            Exhibit F
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                                                             County of Los Angeles
                                                CHIEF EXECUTIVE OFFICE
                                                         713 KENNETH HAHN HALL OF ADMINISTRATION
                                                               LOS ANGELES, CALIFORNIA 90012
                                                                       (213) 974-1101
                                                                    http://ceo.lacounty .gov

WILLIAM T FUJIOKA                                                                                                 Board of Supervisors
 Chief Executive Offcer                                                                                           GLORIA MOLINA
                                                                                                                  First District
                                                                                                                  YVONNE B. BURKE
                                                                                                                  Second District

        December 18, 2007                                                                                         ZEV Y AROSLA VSKY
                                                                                                                  Third District
                                                                                                                  DON KNABE
                                                                                                                  Fourth District
                                                                                                                  MICHAEL D. ANTONOVICH
       The Honorable Board of Supervisors                                                                         Fifth District

       County of Los Angeles
       Kenneth Hahn Hall of Administration
       500 West Temple Street
       Los Angeles, CA 90012

        Dear Supervisors:

                                           AMENDMENT NO.3 TO LEASE NO. 66261
                                          CHILD SUPPORT SERVICES DEPARTMENT
                                            15531 VENTURA BOULEVARD, ENCINO
                                                 (THIRD DISTRICT) (3 VOTES)

        IT IS RECOMMENDED THAT YOUR BOARD:

        1.     Approve Amendment NO.3 to renew the lease for a five-year term with
               M&A Gabaee, L.P. (Landlord) for 43,775 rentable square feet of building space,
               located at 15531 Ventura Boulevard, Encino, for the Child Support Services
               Department (CSSD) at an annual first year rent not to exceed $1,342,045. The
               costs associated with the proposed lease wil be fully funded, 34 percent from
               State funds and 66 percent from Federal funds.

        2.     Find that this Amendment No.3 is exempt from the provisions of the California
               Environmental Quality Act (CEQA) pursuant to Class 1, of the Environmental
               Document Reporting Procedures and Guidelines adopted by your Board on
               November 17,1987, and Section 15061 (b) (3)                                 of   the State CEQA Guidelines.

        PURPOSE/JUSTIFICA TION OF RECOMMENDED ACTION

       Approval of this proposed renewal wil extend the term of the lease for five years and
        allow CSSD to continue to house its Division I, 156 member staff at 15531 Ventura
        Boulevard, Encino, which performs case management for approximately 127,000 child
        support cases.




                                           "To Enrich Lives Through Effective And Caring Service"
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This is a direct service program which services the public on-site in the service area
encompassing the Third District. CSSD provides child support case management for
approximately 127,000 cases with an average number of 1,100 scheduled interviews
per month. The facilty also serves as a mandatory archival file retention space for
caseload record storage.

IMPLEMENTATION OF STRATEGIC PLAN GOALS

The Countywide Strategic Plan directs that we invest in public infrastructure in order to
strengthen the County's fiscal capacity. The proposed lease supports this strategy
(Goal 4, Strategy 2, Objective 2), with the consolidation of department services to better
serve constituents. This proposed lease complies with the Strategic Asset Management
Principles, as shown in Attachment A.

FISCAL IMPACT/FINANCING

This lease amendment is for a five-year renewaL. The cost for the first year shall not
exceed $1,342,045 based on the terms and conditions of Lease Amendment No.3,
which has Consumer Price Index (CPI) increases and limits annual rental adjustments
to a minimum of three (3) percent, and a maximum of five (5) percent annually over the
five-year term.
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 15531 VENTURA            EXISTING LEASE           FIVE-YEAR LEASE                   CHANGE
 BOULEVARD,               NO. 66261                RENEWAL
 ENCINO
Area (square feet)        43,775                   43,775                     None
Term                      10/16/02 - 10/15/07      Upon Board approval        + five years
                          month-to-month
Annual Base Rent          $1,290,428               $1,342,045                 + $51,616
                                                                              (four (4) percent
                                                                              increase)
Parking                   145 parking spaces       145 parking spaces         None
(included in base rent)
Cancellation              County may cancel on     No cancellation during     No cancellation during
                          the Anniversary date     the initial five-year      the initial five-year
                          after the 60th month     renewal                    renewal
                          upon 120 days' prior
                          written notice
Tenant Improvements       None                     None                       None

Option to Renew           One five-year option     Added one five-year        Cancellation at the 36th
                                                   option with right to       and 48th month
                                                   cancel at the 36th and
                                                   48th months of option
                                                   period on 60 days prior
                                                   written notice
Rental Adjustment         Annual CPI increases     Annual CPI increases       Minimum three (3)
                          not to exceed four (4)   with a minimum of three    percent to a maximum
                          percent annually of      (3) percent and a          of five (5) percent
                          base year                maximum of five (5)
                                                   percent of the base
                                                   year

Sufficient funding for the proposed five-year extension is included in the 2007-08 Rent
Expense budget and wil be charged back to CSSD. The costs associated with the
proposed lease will be fully funded 34 percent State and 66 percent Federal funded.

FACTS AND PROVISIONS/LEGAL REQUIREMENTS

CSSD has been at this location since the building was refurbished for County use in
1992. The Landlord has enclosed the center court-yard with a new roof pavilion,
installed new carpet, painted and updated the HV AC within the last 24 months.
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The proposed five-year renewal provides 43,775 rentable square feet and 145 parking
spaces. The lease also contains the following provisions:

   . The renewal commences upon Board approval and ends five years thereafter;
   . There are no tenant improvements included in this lease;
   . Parking for the staff and visitors is available on-site;
   . The Lease is full-service and Landlord is responsible for all maintenance and
       utilties;
   . There is no cancellation provided during the initial five-year renewal; and
   . County has the right at the 36th and 48th month of the Option Period, if exercised,
      to cancel upon 60 days' prior written notice.

NEGATIVE DECLARATION/ENVIRONMENTAL IMPACT REPORT

The CEO has made an initial study of environmental factors and has concluded that this
project is exempt from CEQA as specified in Class 1, of the Environmental Document
Reporting Procedures and Guidelines adopted by your Board on November 17, 1987,
and Section 15061 (b) (3) of the State CEQA Guidelines.

lMACT ON CURRENT SEIDCES (Q PROJECTSl
The current lease expired on October 15, 2007, and is currently on a month-to-month
holdover pending approval of the five-year lease renewaL. There has been no disruption
of services to the public.

CEO Real Estate staff surveyed the area within the Division I Service Center area as
specified by CSSD. Staff was able to identify one site within the surveyed area that
could accommodate this requirement, but an analysis of the five-year renewal and the
cost of relocation and improvements to a new site demonstrated that remaining at the
site for the next five years was more economical than moving to a smaller facilty.
CSSD has no budgeted funding available in the immediate future to cover relocation
and tenant improvements. An analysis was completed in collaboration with CSSD, to
compare the costs of downsizing, relocating or remaining at the current location. An
analysis of this projected costs along with a competitive renewal offer from the current
Landlord demonstrated that CSSD can remain at the existing facilty without a budget
increase. This five-year renewal recommendation is the most acceptable and
economically viable option for CSSD at this time. Attachment B shows all
County-owned and leased facilities within the surrounding EncinoNan Nuys area and
there are no County-owned or leased facilities available for the programs.
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Based upon a market survey of similar properties in the EncinoNan Nuys area, staff
has determined that the base rental range including parking for similar properties is
between $33.00 and $36.00 per square foot per year full-service gross. Thus, the
$30.65 base annual rent of the proposed lease renewal represents a rate below the
lower level range of market for the area.

CONCLUSION

It is requested that the Executive Officer, Board of Supervisors return two certified
copies of the Minute Order and the adopted, stamped Board letter to the CEO,
Real Estate Division, 222 South Hill Street, 4th Floor, Los Angeles, CA 90012.




       ~~
Respectfully submitted,



WILLIAM T FUJIOKA
Chief Executive Officer

WTF:DL:JSE
CEM:TS:hd

Attachments (2)

c: County Counsel
     Child Support Services Department
15531Ventura.b
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                                                                                                      Attachment A

                                     CHILD SUPPORT SERVICES DEPARTMENT
                                      DIVISION I DISTRICT SERVICE CENTER
                                      15531 VENTURA BOULEVARD, ENCINO
                                        Asset Management Principles Compliance Form 1

1.    Occunancv                                                                                 Yes      No   N/A



      A   Does lease consolidate administrative functions?;!                                                   X
      B   Does lease co-locate with other functions to better serve clients?" There is                          X
          space available but we don't have a current need for additional space.
      C   Does this lease centralize business support functions?                                               X
      D   Does this lease meet the guideline of 200 sq. ft of space per person?'                         X
          Ratio is 1/280 sq. ft. The space does not meet the 200 sq. ft. per person
          guidelines and down sizing was recommended. After analysis and
          budget review it is recommended that CSSD remaining at this location,
          at the 1/280 sq. ft. ratio is the most viable option at this time.

 2.   Capital
      A   Is it a substantial net County cost (Nee) program? 100 % State and Federal                     X
          funding
      B   Is this a long term County program?                                                    X
      C   If yes to 2 A or B; is it a capital   lease or an operating lease with an option to            X
          buy?
      D   If no, are there any suitable County-owned facilities available?                               X
      E   If yes, why is lease being recommended over occupancy in County-owned                                X
          space?
      F   Is Building Description Report attached as Attachment B?                               X
      G   Was build-to-suit or capital project considered? A capital project is planned          X
          within the next four to six years.

 3.   Portfolio ManaQement
      A   Did department utilze CEO Space Request Evaluation (SRE)?                              X
      B   Was the space need justified?                                                          X
      C   If a renewal     lease, was co-location with other County departents                           X
          considered?
      D   Why was this program not co-located?
          1. - The program clientele requires a "stand alone" facility.
          2.    L- No suitable County occupied properties in project area.
          3.
          4.    -
                L- No County-owned facilties available for the project.
                         Could not get City clearance or approvaL.

          5. - The Program is being co-located.
      E   Is lease a full service lease?                                                        X
      F   Has growth projection been considered in space request?                               X
      G   Has the Dept. of Public Works completed seismic review/approval?                      X
           As approved by the Board of Supervisors 11/17/98
          ;!If not, why not?
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                                                                                                               Attachment B

                         SPACE SEARCH, WITHIN SERVICE AREA OF DIVISION I DISTRICT
                                  CHILD SUPPORT SERVICES DEPARTMENT


LACO             FACILITY NAME                 ADDRESS               SQ.    FT.    SQ.   FT.                     SQ.   FT.
                                                                     GROSS NET     OWNERSHIP                     AVAIL
5858    DHS-PACOIMA PUBLIC HEALTH    13300 VAN NUYS BLVD. PACOIMA      5404    3058 OWNED                         NONE
        CENTER                       91331
A213    DHS NORTH DISTRICT HEALTH    15643 SHERMAN WAY, VAN NUYS            3712           3600      LEASED       NONE
        FACILITIES OFFICE            91406
fA316   SHERIFF NORTH HILLS TRAP     8353 N SEPULVEDA BLVD NORTH            1500           1500      LEASED       NONE
                                     HILLS 91343
D310 DPSS EASTVALLEYWS               14545 LANARK ST. PANORAMA             96360         96360       OWNED        NONE
     DISTRICT OFFICE                 CITY 91402
6359 MID VALLEY SAN FERNANDO         17555 VAN NUYS BLVD. VAN NUYS         17698         10623 FINANCED           NONE
     VALLEY SERVICE CENTER           91405
A383 DHS SAN FERNANDO DIST           6851 LENNOX AVENUE VAN NUYS            7537           7180      LEASED       NONE
     ENVIRONMENTAL HEALTH            91405
A494 PROBATION VAN NUYS              7100 VAN NUYS BLVD., VAN NUYS          1900           1710      LEASED       NONE
     JUVENILE SERVICES ANNEX         91405
A494 PROBATION VAN NUYS              7100 VAN NUYS BLVD.,VAN NUYS          2484            2360      LEASED       NONE
     JUNENILE SERVICES               91405
A491 PROBATION VAN NUYS              14540 HAYNES ST. VAN NUYS             13500          11475      LEASED       NONE
     JUVENILE SERVICES               91411
A585 APD VAN NUYS OFFICE             14553 DELANO STVAN NUYS 91411         2750            2612      LEASED       NONE

4705    PROBATION EAST SAN           14414 W DELANO STVAN NUYS       15825                 8362      OWNED        NONE
        FERNANDO VALLEY AREA         91401
        OFFICE
5273    VAN NUYS COUNTY              14340 W SYLVAN ST. VAN NUYS     9849                  6992      OWNED        NONE
        ADMINISTRATIVE CENTER        91401
7278    VAN NUYS COURTHOUSE EAST     6230 SYLMAR AVE VAN NUYS 91401 180296               88650       OWNED        NONE

4400    VAN NUYS COURTHOUSE WEST 14400 ERWIN ST VAN NUYS 91402        320931             125801      FINANCED     NONE

Y472    VAN NUYS COURTHOUSE BLDG. 6280 SYLMAR ST VAN NUYS 91401            4740 3106                 OWNED        NONE
        A
Y473    VAN NUYS COURTHOUSE BLDG. 6280 SYLMAR ST VAN NUYS 91401      4740                  3148       OWNED       NONE
        B
Y474 VAN NUYS COURTHOUSE BLDG. 6280 SYLMAR ST VAN NUYS 91401         4740                  3148       OWNED       NONE
     C
Y476 VAN NUYS COURTHOUSE BLDG. 6280 SYLMAR STVAN NUYS 91401          3373                  1987       OWNED       NONE
        E
Y477    VAN NUYS COURTHOUSE BLDG. 6280 SYLMAR ST VAN NUYS 91401      576                       495    OWNED       NONE
        F
T027    VAN NUYS COURTHOUSE          6830 SYLMAR ST VAN NUYS 91401   3164                  2824       OWNED       NONE
         RAILER C
T026    VAN NUYS COURTHOUSE          6830 SYLMAR ST VAN NUYS 91401   8116                7086         OWNED       NONE
        TRAILER D
Y442    VAN NUYS COURTHOUSE          14400 W DELANO STVAN NUYS       11037                 6470       OWNED       NONE
        TRAILER F                    91401
A276    DCFS REGION V NORTH          12020 CHANDLER BLVD. NORTH      43258               41106        LEASED      NONE
        HOLLYWOOD SERVICE OFFICE     HOLLYWOOD
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                    AMENDMENT NO.3 TO LEASE NO. 66261
                         15531VENTURA BLVD., ENCINO
                    CHILD SUPPORT SERVICES DEPARTMENT

  This Amendment No.. 3 to Lease No. 66261 is made and entered into this
  day of ,2007, by and between M & A GABAEE ("Lessor"), and the COUNTY OF
  LOS ANGELES, a body politic and corporate ("Lessee").

  WHEREAS, the COUNTY OF LOS ANGELES, as Lessee, has entered into that
  certain Lease No. 66261 dated July 28, 1992, ("Lease") for approximately 43,775
  rentable square feet of office space in a building located at 15531 Ventura Blvd.,
  Encino;

 . WHEREAS, the parties Amended Lease No. 66261 with Lease Amendment No.
   2 on October 1, 2002 ("Amendment No.2") to extend the term of the Lease for
   an additional five year period which began on October 16, 2002 and expired on
   October 15, 2007 ("Lease Extension"); ,

  Whereas, the Lease has continued through mutual holdover beginning October
  16, 2007 and terminating November 30, 2007 ("Holdover Period");

  Whereas, parties have not entered into a lease amendment no. 1; and

  Whereas, the parties now desire to amend said Lease No. 66261 to increase the
  term of the Lease beyond the Holdover Period termination date for an additional
  term of five years ("Second Lease Extension"), commencing December 1, 2007
  or upon approval by the Board of Supervisors, County of Los Angeles ("Board of
  Supervisors"), whichever occurs last.

  NOW, THEREFORE, in consideration of the foregoing. recitals, which are hereby
  deemed a contractual part hereof and other good and valuable consideration, the
  receipt and sufficiency of which are hereby acknowledged and the rents,
  covenants and agreements herein contained, and intended to be legally bound,
  Lessor and Lessee hereby covenant and agree as follows:

  1. Paragraph 2      of                           Amendment No.2, TERM,
                           the Lease and Paragraph 1   of

  of the Lease and Amendment No.2 shall be amended by adding the following:

  The term of Second Lease Extension shall commence upon termination of the
  Holdover Period   on November 30, 2007 or upon approval by the Board of
  Supervisors, whichever occurs last ("Second Lease Extension Commencement
  Date '? and shall terminate five years thereafter ("Second Lease Extension
  Termination Date'? .

  Paragraph 2B of the Lease and Paragraph 1 of Amendment No.2, OPTION TO
  RENEW are hereby deleted in its entirety and in its place shall be su8stituted
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  with the following:


  Provided Lessee is not in default, Lessee shall have the option to renew the
  Second Lease Extension for an additonal period of five years under the same
  terms and conditions as described in paragraph 2B of the Lease subject to the
  thffmodifcations of this Amendment NO.3 ('Third Lease Extension'? Duringthe
   Thírd Lease Extension, Lessêeshaii continue to pay the Monthly Base Rent as
  due, which Monthly Base Rent shall continue to be pdjusted in accordance with
  the terms of Paragraph 28 of the Lease. In the event that Lessee desires to
  exercisethê Third Lease EXtension, Lessee shall deliver Lessor writen notice of
  such exercise not less than 180 days prior to the Second Lease Extension
   Termination Date. The actual exercise of the Third Lease Extension shall be
  only by the Board of Supervisors prior to the expiration of theSecond Lease
  Extension.

  2. Paragraph 3 of the Lease and Paragraph 2 of Amendment No.2, RENT,
  of are hereby deleted in its entirety and in its place shall be substituted with the
  following:

  Prior to the Second Lease Extension Commencement Date, and during the
  Holdover Period, Lessee shall pay Monthly Base Rent in the amount of
  $107,535.72 as required pursuant to the terms of the Lease and as adjusted in
  accordance with Paragraph 28 of the Lease upon the rental adjustment date as
  existing prior to the execution by all parties hereto of this Amendment No.3.
  Beginning on the Second Lease Extension Commencement Date, the Monthly
  Base Rent payable with respect to the Premises shall be amended to be equal to
  One Hundred Eleven Thousand Eight Hundred Thirty-Seven and 15/100
  ($111,837.15) per month, (i.e.; $2.554 per square foot, full service for the 45,775
  square feet which make up the Premises, as defined in the Lease). All Monthly
  Base Rent payable under the Lease, as amended, is payable in advance by
  Auditor's General Warrant within fifteen days after the first day of each and every
  month of the term hereof provided Landlord fies a payment voucher therefore
  prior to the Second Lease Extension Commencement Date and thereafter
  annually during the month of June with the Auditor of the County of Los Angeles.

  3... , Paragraph '5. CANCELLATION of                      the Lease is hereby deleted in its
  entirety and in its place shall be substituted with the following:

  Lessee shall           have      the right to cancel the Lease on the 36th and 48th month of the
  Second Lease Extension period as stated in 2B of this Amendment NO.3 by
  giving.60 days prior written             notice '
  4. Paragraph 6. HOLDOVER of the Lease is hereby deleted in its entirety
  and in its place shall be substituted with the following:

  In the event Lessee remains in possession of the Premises beyond the end of
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  the Second Lease Extension term without exercising the Third Lease Extension
  Term ("Hold Over')' with the express consent of Lessor, such tenancy shall not
  exceed a period of sixty (60) days and shall remain subject to the applicable
  terms and conditons of the Lease, Amendment No.2, and Amendment No.
  3,and shall not be a renewal hereof, and the Monthly Base Rent then payable
  shall be that  Monthly Base Rent payable under the applicable terms of the
  Lease, Amendment No.2, and Amendment No.3. Either party may during the
  Hold Over cancel this Lease by giving the other party not less than 60 days prior
  writen notice. -
  5. Paragraph 23. GENERAL PROVISIONS of the Lease is hereby amended
  by adding the following: .

  R.               Community Business Enterprise

  Lessor is encouraged to use Commu,nity Business Enterprises ("CBE") in all
  contracts when possible as sources for supplies, equipment, construction and
  services. This shall apply during any applicable tenant improvement construction,
  modular furniture installation and services to be provided during the Lease term.

  Lessor shall use reasonable efforts. to submit evidence of CBE participation by
  providing completed copies of the Community Business Enterprise Firm
  Information, form attached hereto as Exhibit "I", at the time of signing
  Amendment No.3 and thereafter on an annual basis on or before December
  30th of each year of the term of the Lease and any extension(s) thereof

  S.               Lobbyists

  Lessor and each County lobbyist or County lobbying firm as defined in Los
  Angeles County Code Section 2.160.010, retained by Lessor,                      shall fully comply
  with the County Lobbyist                       Ordinance, Los Angeles County Code Chapter 2.160.
   Failure on, the part of Lessor or any County lobbyist or County          lobbying firm
  retained by Lèssor to . fully                      the County Lobbyist Ordinance shall
                                                      comply with

  constitute          a rnaterial breach of the Lease, Amendment NO.2 and Amendment
   No.         3   and upon the occuranceof which, County may immediately terminate or
  suspend the Lease, Amendment No. 2and Amendment No.3.

  6. Paragraph 27. RENTAL ADJUSTMENTS of the Lease is hereby deleted in
   its entirety and in its place shall be substituted the following:

  A. At the    thirteenth month of this Second Lease Extension and every twelve
   months thereafter, the rent shall be adjusted in accordance with the CPI formula
  set forth .
  in Paragraph 27 B. The "Base Index" shall be the Index published for November
  2007;,
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  B. CPI Formula: The method for computing the annual rental adjustment shall be
  by reference to the. Consumer Price Index for all Urban Consumers for the Los
  AngelesAnaheim-Riverside area, all items published by the United States
  Department of Labor, Bureau of Labór Statistics (1982-84-100), herein referred
  to as "Index". .
  The rental adjustment for the Net Sase rent shall be calculated by multiplying the
  Lessor's base rent of $111,837.15, by a fraction, the numerator being the New
  Index which  is the Index published for the month'immediately preceding the
  month the adjustment is effective, which is the Index published for October, then
  add to the total result the amount needed to amortize Lessee's tenant
  improvements.

  The formula shall be as follows:

   (New Index I
   (Base Index) X $111,837.15

  The total of the Monthly Base Rent, the monthly cost to amortize additional
  tenant improvements and change orders, if any, shall be the new Monthly Base
  Rental rate, i.e.:

   Base Rent
   + the amount to amortize additional Tenant Improvements, if any

   +/- the amount to amortize change orders, if any = New Monthly Base Rent

   If the Index is changed so that the base year of the Index differs. from that used
   as of the commencement date of the Second Lease Extension, the Index shall be
   converted  in accordancewith the conversion factor published by the United State
   Department of Labor, Bureau of Labor Statistics. If the Index is discontinued or
   revised during the term of the Second Lease Extension, such other governmental
   Index or computation with which it is replaced    shall be used in order to obtain
   substantially the same result as would be obtained if the Index had not been
   discontinued or revised. In the event the parties are unable to agree upon a
                          original index is discontinued without a replacement) then
   substitute index (if the

   upon demand by     either party, the matter shall be submitted to arbitration in
   accordance with Paragraph 22M                                 for the purpose of determining an alternate
   method of computing the rent adjustment based upon the increase                             in the cost of
   living. .

   C. General Provisions: In no event shall the Monthly Base Rent adjustment
   based upon the CPI formula set forth in this Paragraph 27 result in an annual
   increase no less than three percent (3%) nor greater than five percent (5%) per
   year of the Monthly Base Rent of $111 ,837.15
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  9. Paragraph 32. of the Lease and Paragraph 4 of Amendment No.2, RIGHT
  TO REDUCE SQUARE FOOTAGE OF SPACE, shall be deleted in its entirety.

  10. Paragraph 33. SOLICITATION OF CONSIDERATION shall be added to the
  Lease as follows:

  It is improper for any County.Officer, employee or agent to solicit consideration,
  in any form, from a Leasor with the implication, suggestion or statement that the
  Lessor's provision of the consideration may sectJremore favorable treatment for
  the Lessor in the award                  of the Lease or subsequent amendments or that the
  Lessor's failure to provide such consideration may negatively affect the County's
  consideration of the Lessor's submission. A Lessor shall not offer or give, either;
  directly or through an intermediary, consideration, in any form, to a County
  officer, employee or agent for the purpose of securing favorable treatment with
  respect to the award of the Lease.

  A Lessor shall immediately report any attempt by a County offce, employee or
  agent to solicit such improper consideration. The report shall be made either to
  the County manager charged with the supervision of the employee or to the
   County AuditorController's's Employee Fraud Hotlne at (213) 974-0914 or (800)
   544-6861. Failure to report sucf) solicitation may result in the Lessor's
  submission being eliminated from consideration.

  11. Paragraph 34. LIMITATION OF AUTHORITY shall be added to the Lease as
  follows:

   Only the Board of Supervisors has the authority, by formally approving and/or
   executing this Lease Amendment No.3, to bind the County to the. terms included
   herein. Lessor understands that no material terms of the Lease, Amendment No.
   2 or Amendment NO.3 maybe altered or                              new material
                                                              deleted, nor may any

   terms be added to the Lease, Amendment NO.2 or Amendment No.3, without
   the express writen approval of the Board of Supervisors, either through an
   amendment             to the Lease      or by other formal Board action.

   No County officer, employee, agent, or independent contractor has any authority


   ~~~. . .
   to alter, add or delete the material terms of the Lease, Amendment No.2 or
   Amendment No.3; and Lessor may not rely upon any representations to the

   This limitation of authority applies to all material terms ofthe Lease, Amendment
   No.2 or Amendment No.3 including, without limitation, any monetary ceilng
   established for tenant improvements or other project costs of Lessor which are
   subject to reimbursement by County. County shall not. reimburse Lessor for any
   expenses which exceed this ceilng.
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   12. All other terms and conditions of the Lease No. 66261 and Amendment No.2
   shall remain the same and in full force and effect.

   13. Lease Amendment NO.3 contains the entire agreement of the parties with
   respect to the Second Lease Extension. provision contained herein. Upon
   approval by the Board of Supervisors, Amendment No.3 supersedes any and all
   prior agreements of the LessÖr and Lessee with respect to such provisions.
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            EXHIBIT "I" ,
            COMMUNITY BUSINESS ENTERPRISE FIRM .
            INSTRUCTIONS: All Lessors shall submit this form on an annual basis on or before
            December.3Oth of each year of the term of this agreement as evidence. of CBE
            participation. The information requested below is for statistical purposes only. On final
            analysis and consideration, leases wil be selected without regard to gender, race,
            creed, or color. Categories listed below are based on tHose described in 49 CFR
            Section 23.5. . .
            i. MINORITY/WOMEN PARTICIPATION IN FIRM (Partners, Associates Partners,
            Managers, Staff, etc.) .'
            FIRM: NAME
            ADDRESS CONTACT TELEPHONE NO.
            TOTAL NUMBER OF EMPLOYEES IN FIRM:
                         . OWNERS/PARTNERS
                                        ASSOCIATE PARTNERS MANAGERS                    STAFF
            Black/African American
            Hispanic/Latin American
            Asian American
            Portuguese American
            American Indian/
            Alaskan Native
            All Others
            Women (Should be
            included in counts
            above and also reported
            here separately)
            II. PERCENTAGE OF MINORITY/WOMEN OWNERSHIP IN FIRM
            TYPE OF BUSINESS STRUCTURE: .
            (Corporation. Partnership, Sole Proprietorship, etc.)
            TOTAL NUMBER OF OWNERSHIP/PARTNERS, ETC.:
            PERCENTAGE OF OWNERSHIP' .
            Black/African American
            Hispanic/Latin American
            Asian American
            Portuguese American
            American Indian/
            Alaskan Native
            All Others
            Women (Should be
            included in counts
            above and also reported
            here separately)

                III.     CURRENT CERTIFICATION AS MINORITY/WOMEN-OWNED FIRM

            IS YOUR FIRM CURRENTLY CERTIFIED AS A MINORITY OWNED BUSINESS FIRM
            BY THE:
                       State of California? Yes No
                       City of Los Angeles? Yes No
                       Federal Government? Yes No
            IV. FIRM'S DESIRE NOT TO RESPOND TO
             INFORMATION'
                                      PROVIDE THE INFORMATION REQUIRED IN THIS FORM.


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